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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF IOWA
UNITED STATES OF AMERICA,                      )
                                               )
                       Plaintiff,              )
                                               )
                         VS.                   )    Case No. 3:15-CR-00073-JAJ-SBJ
                                               )
DA YID ROY BOLINGER,                           )
                                               )
                       Defendant.              )


        REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY

           The United States of America and the Defendant, having both filed a written consent,

appeared before me pursuant to Rule 11, Fed. R. Crim. P. and L. Cr. R. 11.            The Defendant

entered a plea of guilty to Count 1 of the Indictment. After cautioning and examining the Defendant

under oath concerning each of the subjects mentioned in Rule 11, I determined that the guilty plea

was knowing and voluntary as to that count, and that the offense charged is supported by an

independent factual basis concerning each of the essential elements of such offense. Defendant

understands and agrees to be bound by the terms of the Plea Agreement. I, therefore, recommend

that the plea of guilty be accepted, that a pre-sentence investigation and report be prepared, and that

the Defendant be adjudged guilty and have sentence imposed accordingly.




Date
                                                     1::/:!;R~t;J+)0
                                                    UNITED STA TES MAGISTRATE JUDGE

                                              NOTICE

Failure to file written objections to this Report and Recommendation within fourteen (14) days
from the date of its service shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. 636(b)(l)(B).
